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                           Exhibit U
        Case 23-40709       Doc 70-21 Filed 01/16/24 Entered 01/16/24 13:03:39                     Desc Exhibit
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AttyLeahy@outlook.com

From:                             Lolonyon Akouete <info@smartinvestorsllc.com>
Sent:                             Friday, January 13, 2023 12:37 PM
To:                               Iris Leahy
Subject:                          Re: 19 TL 000768 Town of Westborough v. Westborough SPE, LLC , et al.
Attachments:                      WB SPE EIN LETTER0001.pdf; FORM 4506 TAX return.pdf


Hello Iris,

I am not opposed to rescheduling the hearing for February 9, 2023, at 2:00 pm.
Feel free to contact the Court and make the request. We will have enough money to redeem the property, including any
additional legal fees.


We strongly believe that Jan Blaustein Scholes, the manager from whom we obtained the Bill of Sale, is a managing
member of the LLC. To confirm that we have ordered Partnership Income Tax Return, Form 1065, from the IRS. Only a
member manager has the authority to sign IRS Form 1065. This is more informational to show the IRS what annual
distributions were.

See attachment.
Request for Copy of Tax Return from 1997 to 2007

Thanks,
Lolonyon Akouete
1241 Deer Park Ave., Suite 1, #1051
North Babylon, NY 11703
info@smartinvestorsllc.com
(443) 447-3276


On Fri, Jan 13, 2023 at 10:29 AM Iris Leahy <AttyLeahy@outlook.com> wrote:

 Hello Mr. Akouete,




 Thank you for the below email. I am in the process of drafting my response to your motion. I haven't completed my
 work and have been working diligently. With the additional work to prepare for the Ex Parte hearing earlier this week, I
 need more time to be able to provide my response.




 I would like to again request that you ask the Court to mark the hearing up on your motion to vacate for February 9, 2023
 at 2:00pm. I understand the Court marked the hearing up for January 19, 2023 at 10:00am, but as I advised you on
 January 5, 2023, this does not provide me with adequate time to prepare for this hearing. This was even before I had to
 prepare for the above-mentioned hearing this week.




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